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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

BONNIE FISH, et al.,                       )
                                           )
                        Plaintiffs,        )
                                           )
     v.                                    )      No.   09 C 1668
                                           )
GREATBANC TRUST COMPANY, et al.,           )
                                           )
                        Defendants.        )

                      MEMORANDUM OPINION AND ORDER

     Three of the defendants in this action (“Individual

Defendants”) have just filed their Answer to the First Amended

Complaint (“FAC”) brought against them and GreatBanc Trust

Company.    This sua sponte memorandum opinion and order is

triggered by some problematic aspects of that responsive

pleading.

     To begin with, a flock of the Answer’s paragraphs accurately

invoke the formula prescribed in Fed. R. Civ. P. (“Rule”) 8(b)(5)

as the basis for a deemed denial.          But having done so, defense

counsel impermissibly follow that formulation with the phrase

“and therefore deny them” (Answer ¶¶1-4, 6, 12, 25, 26, 29, 40,

52-55, 58 and 74).      That is of course oxymoronic--how can a party

that asserts (presumably in good faith) that it lacks even enough

information to form a belief as to the truth of an allegation

then proceed to deny it in accordance with Rule 11(b)?

Accordingly the quoted phrase is stricken from each of those

paragraphs of the Answer.
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     Moreover, three of those paragraphs (Answer ¶¶25, 26 and 29)

contain really impermissible quibbles as a predicate for calling

Rule 8(b)(5) into play.       Each of the words as to which defense

counsel claim a lack of definitional precision has an obvious

common-sense meaning in the context in which it is employed.

Accordingly Answer ¶¶25, 26 and 29 are stricken, and Individual

Defendants will be deemed to have admitted the corresponding FAC

allegations unless an appropriate amendment to the Answer is

filed on or before August 26, 2009.

     Finally, Individual Defendants’ laundry list of no fewer

than 15 affirmative defenses (“ADs”) violates the notice pleading

principles applicable to defendants as well as plaintiffs in the

federal system.     In addition to their having to read and comply

with the principles set out in this Court’s App’x ¶5 to the

opinion in State Farm Mut. Auto. Ins. Co. v. Riley, 199 F.R.D.

276, 278 (N.D. Ill. 2001), defense counsel must flesh out those

purported ADs in an informative way, so that plaintiffs’ counsel

and this Court are made aware of the predicate for such defenses.

Absent such a filing on or before that same August 26 date, the

ADs will be deemed to have been forfeited.

     Indeed, defense counsel ought to pare down the laundry list

to eliminate any that reflect only the recital of skeletal labels

or that have no objective good faith basis under Rule 11(b) for




                                       2
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their assertion.1      In addition, defense counsel should be

particularly mindful of the concept that the essential nature of

an AD involves accepting as true the allegations of the

adversary’s pleading--for example, AD 7 is improper because it is

directly at odds with the FAC’s allegations (see FAC ¶¶7-9).2

     This memorandum order has already spoken of a possible

amendment to the Answer.        Because of the problems with the ADs as

they have been advanced, the most sensible resolution is to

strike all of them--and this Court does so--but without prejudice

to reassertion of the proper ADs in proper form on the same

timetable.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge

Date:       August 12, 2009




        1
        After all, if there is real substance to any AD that
would require threshold treatment that might perhaps streamline
the litigation, it is in everyone’s interest for such an AD to be
advanced up front via an appropriate motion.
        2
        This example reflects no effort to be exhaustive on that
subject. It is defense counsel’s obligation to make certain that
each retained AD does not violate that fundamental principle.

                                       3
